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                  IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE                               :              CHAPTER 13
                                    :
LASANA KROMAH                       :              CASE NO: 24-13475AMC
                                    :
                  Debtor            :
____________________________________:


                       PRAECIPE TO WITHDRAW DOCUMENTS


        TO CLERK OF COURT

        Please be advised that undersigned Debtor’s counsel withdraws without prejudice the

Objection to Proof of Claim No. 2, filed on March 4, 2025 (Doc. No. 17).




                                                       /s/ Alfonso Madrid
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